





THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS&nbsp;
 PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
South Carolina Department of Social Services (SCDSS),
Respondent,
v.
Gale B., Appellant,
In the interests of: T.B., K.B. and B.B., all minors under the age of 18.
      
    
  


Appeal from Colleton County
&nbsp;Wayne M. Creech, Family Court Judge

Unpublished Opinion No. 2006-UP-321
Submitted July 1, 2006  Filed August 22, 2006

AFFIRMED


  
    
      
Grahame E. Holmes, Walterboro, for Appellant.
Mark Shelton Moore, of Walterboro, for Respondent.
      
    
  

PER CURIAM: Gail B. appeals from two orders of the family court, one of which ordered a permanency plan of termination of parental rights to her youngest daughter, B.B., and another which ordered a permanency plan of continued foster care for her two oldest daughters, T.B. and K.B.&nbsp; Pursuant to Ex parte Cauthen, 291 S.C. 465, 354 S.E.2d 381 (1987), Gale B.s counsel attached to the record of the family court proceedings an affidavit stating he reviewed the transcript and was unable to determine any meritorious issues.&nbsp; Neither the Department of Social Services nor Gail B. filed a response to counsels affidavit.
Upon reviewing the record and the family courts determination in its entirety, we find no meritorious issues warranting briefing.&nbsp; Accordingly, the family courts decision is 
AFFIRMED.  [1]
HEARN, C.J., and GOOLSBY and WILLIAMS, JJ., concur.

[1] We decide this case without oral argument pursuant to Rule 215, SCACR.

